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            EXHIBIT K
                 Case 2:22-cv-04953-BMS Document 5-15 Filed 12/19/22 Page 2 of 4




From:                              Packer, Susan <Susan.Packer@courts.phila.gov>
Sent:                              Friday, December 9, 2022 3:54 PM
To:                                George M. Vinci Jr.; Krabill, Laura E. (Phila); Jennifer L. Gordon
Cc:                                Goldberger, M. Norman (Phila); Summers, Shawn (Phila); Charlson, Michael; Antonelli,
                                   Marisa; Neal R. Troum; Alan Epstein
Subject:                           RE: Norcross, et al. v. Republic First Bancorp., et al.



⚠ EXTERNAL
Dear Counsel,

If the annual shareholders’ meeting is postponed for at least 30 days, the court is willing to re-schedule the
hearing to sometime in mid-January, most likely the 18th.

If the annual shareholders’ meeting is not postponed, then the hearing goes forward on the 16th of December.

PHV counsel may appear for the defendants.

Susan Packer
Director - Commerce Court
City Hall, Room 521
Philadelphia, PA 19107
215-686-4916

From: George M. Vinci Jr. <gvinci@sgrvlaw.com>
Sent: Friday, December 9, 2022 3:15 PM
To: Krabill, Laura E. <KrabillL@ballardspahr.com>; Jennifer L. Gordon <jgordon@sgrvlaw.com>; Packer, Susan
<Susan.Packer@courts.phila.gov>
Cc: Goldberger, M. Norman <GoldbergerM@ballardspahr.com>; Summers, Shawn <SummersS@ballardspahr.com>;
Charlson, Michael <mcharlson@velaw.com>; Antonelli, Marisa <mantonelli@velaw.com>; Neal R. Troum
<ntroum@sgrvlaw.com>; Alan Epstein <aepstein@sgrvlaw.com>
Subject: RE: Norcross, et al. v. Republic First Bancorp., et al.

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recognize the sender and confirmed the content is safe.

Good Afternoon Ms. Packer,

Is there anything else the Judge needs from the parties at this time?




                                                             1
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                                  George M. Vinci Jr., Shareholder & Director
                                  Spector Gadon Rosen Vinci P.C.
                                  T +1 215-241-8840
                                  F +1 215-531-9128
                                  E gvinci@sgrvlaw.com



www.sgrvlaw.com                   1635 Market Street, 7th Floor, Philadelphia, PA 19103

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Federal tax laws, or (ii) the promotion, marketing, or recommending to another party of any tax-related transaction or matter
addressed herein.


From: Krabill, Laura E. <KrabillL@ballardspahr.com>
Sent: Friday, December 9, 2022 10:11 AM
To: Jennifer L. Gordon <jgordon@sgrvlaw.com>; susan.packer@courts.phila.gov
Cc: Goldberger, M. Norman <GoldbergerM@ballardspahr.com>; Summers, Shawn <SummersS@ballardspahr.com>;
Charlson, Michael <mcharlson@velaw.com>; Antonelli, Marisa <mantonelli@velaw.com>; George M. Vinci Jr.
<gvinci@sgrvlaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>; Alan Epstein <aepstein@sgrvlaw.com>
Subject: RE: Norcross, et al. v. Republic First Bancorp., et al.

{EXTERNAL EMAIL} This message originated outside of your organization.
Dear Ms. Packer,

Attached is the letter that Plaintiffs delivered to Judge Djerassi as well. We appreciate your assistance as always. Thank
you.

Laura

From: Jennifer L. Gordon <jgordon@sgrvlaw.com>
Sent: Friday, December 9, 2022 10:08 AM
To: susan.packer@courts.phila.gov
Cc: Krabill, Laura E. (Phila) <KrabillL@ballardspahr.com>; Goldberger, M. Norman (Phila)
<GoldbergerM@ballardspahr.com>; Summers, Shawn (Phila) <SummersS@ballardspahr.com>; Charlson, Michael
<mcharlson@velaw.com>; Antonelli, Marisa <mantonelli@velaw.com>; George M. Vinci Jr. <gvinci@sgrvlaw.com>; Neal
R. Troum <ntroum@sgrvlaw.com>; Alan Epstein <aepstein@sgrvlaw.com>
Subject: Norcross, et al. v. Republic First Bancorp., et al.

⚠ EXTERNAL
Dear Susan,

Per your instructions I am emailing you a copy of our letter to Judge Djerassi. Would you kindly make sure he receives
it. Thank you.



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                                  Jennifer L. Gordon
                                  Legal Assistant
                                  Spector Gadon Rosen Vinci P.C.
                                  T +1 215-241-8937
                                  F +1 215-531-9111
                                  E jgordon@sgrvlaw.com
                                  Assistant to -
                                  George Vinci
                                  Jonathan Greystone
                                  Kermit Rader
                                  Randi Wolf

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